Case 18-22760-GLT         Doc 31    Filed 10/31/18 Entered 10/31/18 11:02:41            Desc Main
                                    Document     Page 1 of 2



               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA


In re:                                        )
                                              )
CRAIG H. LIPINSKI,                            )       Case No. 18-22760-GLT
                                              )
                        Debtor                )       Chapter 7
                                              )
JEFFREY J. SIKIRICA,                          )
CHAPTER 7 TRUSTEE                             )       Doc. #____
                                              )
                        Movant                )       Hearing Date/Time:
                                              )       November 29, 2018, at 10:30 a.m.
                v.                            )
                                              )       Response Deadline:
NO RESPONDENTS.                               )        November 19, 2018


  NOTICE OF HEARING AND RESPONSE DEADLINE REGARDING MOTION OF
  JEFFREY J. SIKIRICA TO APPROVE RETENTION OF AUCTIONEER AND TO
APPROVE AUCTION SALE OF ESTATE ASSETS FREE AND CLEAR OF LIENS AND
                           ENCUMBRANCES

TO THE RESPONDENT(S):

         You are hereby notified that the Movant seeks an order affecting your rights or property.

        You are further instructed to file with the Clerk and serve upon the undersigned attorney
for Movant a response to the Motion by no later than November 19, 2018 (i.e., seventeen (17)
days after the date of service below), in accordance with the Federal Rules of
Bankruptcy Procedure, the Local Rules of this Court, and the general procedures of the presiding
judge as found on the Court’s webpage at www.pawb.uscourts.gov. If you fail to timely file and
serve a written response, an order granting the relief requested in the Motion may be entered and
the hearing may not be held. Please refer to the calendar posted on the Court’s webpage to verify
if a default order was signed or if the hearing will go forward as scheduled.

         You should take this Notice and the Motion to a lawyer at once.

        A hearing will be held on November 29, 2018, at 10:30 a.m. before
Judge Gregory L. Taddonio in Courtroom A, 54th Floor U.S. Steel Tower, 600 Grant Street,
Pittsburgh, PA 15219. Only a limited time of ten (10) minutes is being provided on the calendar.
No witnesses will be heard. If there is an issue of fact, an evidentiary hearing will be scheduled
by the Court for a later date.
Case 18-22760-GLT   Doc 31   Filed 10/31/18 Entered 10/31/18 11:02:41      Desc Main
                             Document     Page 2 of 2




October 31, 2018                           BY: /s/ Jeffrey J. Sikirica__
                                           Jeffrey J. Sikirica, Esquire
                                           PA. I.D. #36745
                                           121 Northbrook Drive
                                           Gibsonia, PA 15044
                                           T: (724) 625-2566
                                           F: (724) 625-4611
                                           sikiricalaw@zoominternet.net
